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 1   SO. CAL. EQUAL ACCESS GROUP
     Jason J. Kim (SBN 190246)
 2   Jason Yoon (SBN 306137)
 3
     101 S. Western Ave., Second Floor
     Los Angeles, CA 90004
 4   Telephone: (213) 252-8008
     Facsimile: (213) 252-8009
 5   scalequalaccess@yahoo.com
 6   Attorneys for Plaintiff
     IGNACIO VERA
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     IGNACIO VERA,                                     Case No.: 2:21-cv-06364-FMO (Ex)
11
12                Plaintiff,
                                                       NOTICE OF VOLUNTARY
13         vs.                                         DISMISSAL OF ENTIRE ACTION
                                                       WITH PREJUDICE
14
     SMART & FINAL STORES LLC; 5M
15   ARMINTA, LLC; and DOES 1 to 10,
16                Defendants.
17
18
           PLEASE TAKE NOTICE that IGNACIO VERA
19
     (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
20
     voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
21
     Procedure Rule 41(a)(1) which provides in relevant part:
22
           (a) Voluntary Dismissal.
23
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24
                         and any applicable federal statute, the plaintiff may dismiss an action
25
                         without a court order by filing:
26
                         (i)     A notice of dismissal before the opposing party serves either an
27
28
                                 answer or a motion for summary judgment.


                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
     Case 2:21-cv-06364-FMO-E Document 14 Filed 01/14/22 Page 2 of 2 Page ID #:35




 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: January 14, 2022        SO. CAL. EQUAL ACCESS GROUP
 6
 7                                  By:      /s/ Jason J. Kim
 8                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
